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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      :

        v.                                      :         Criminal No. ELH-19-0286

DEREK CROSBY                                   :


                                MEMORANDUM AND ORDER
       Derek Crosby is a co-defendant in a multi-defendant drug conspiracy indictment, alleging

drug trafficking and firearms violations in Baltimore City. On June 11, 2019, Defendant along with

nineteen co-defendants were indicted by a federal grand jury. The defendant was charged with

Conspiring to Distribute more than one kilogram of heroin, more than five kilograms of cocaine,

more than 280 grams of crack, and a detectable amount of fentanyl in violation of 21 U.S.C. § 846,

which carries a sentence ranging from 10 years’ to life imprisonment, and one count of Possession

of a Firearm by a Prohibited Person in violation of 18 U.S.C. § 922(g), which carries a sentence up

to 10 years. On June 25, 2019, a subsequent indictment charged six additional defendants with

money laundering.

       Defendant had an initial appearance before the Court on June 20, 2019. A detention hearing

was conducted on June 21, 2019 and I found by clear and convincing evidence that no condition or

combination of conditions would reasonably assure the safety of the public. ECF 82. I made

specific findings both on the record and in writing after hearing arguments of counsel, and

evaluating the factors set forth in the Bail Reform Act, 18 U.S.C. 3142(g). On October 9, 2019,

Defendant appealed the order of detention. ECF 329. Judge Hollander conducted a de novo hearing

and denied the motion. ECF 333. Defendant has now filed a Motion for Reconsideration relying

upon the COVID-19 pandemic as changed circumstances for the Court to review. ECF 411. The

government has responded, opposing release. ECF 412. The parties have fully briefed the issues

and there is no need for a hearing. Local Rule 105.6. For the reasons set forth below, the motion is

DENIED.
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       The Defendant does not challenge the Order of detention based upon the previous factors

set forth in 3142(g) nor the Court’s analysis of the danger the Defendant poses to the public.

Instead the Defendant alleges that the current outbreak of COVID-19 and positive tests of specific

detainees at both CDF, where he is housed, demonstrate that Defendant is himself at a higher risk

of infection while detained. Counsel alleges Defendant was diagnosed with pneumonia and asthma

in 2018 and uses an albuterol inhaler. ECF 411, p.2. Defendant offers the alternative of home

confinement to safeguard his health. Defendant offers several potential third party custodians to

assure his release conditions are met and is willing to abide by the Court’s most stringent

conditions. Id., p.3. Notably the Defendant offers no plan for medical care in the event he is or

becomes positive and does not describe the conditions where he proposes to reside, for example,

what size is the residence, how many people reside there, do any of the other residents have

compromising medical conditions, or how can isolation or social distancing be accomplished.

       This Court will treat the motion as a motion for reconsideration due to the changed

circumstances of the COVID-19 outbreak. 18 U.S.C. 3142(f). My decision is an individualized

assessment as to this Defendant and pursuant to the motion and response, the record in this case

and the arguments contained therein.

       There is no new evidence presented to this Court that rebuts the presumption for detention

of this Defendant nor ensures the safety of the community. I fully incorporate my findings on the

record at the detention hearing of June 21, 2019, my written order of that date as well as the record

on appeal to Judge Hollander. ECF 69, 333.

       The Defendant was engaged in a chronic plague of drug trafficking and faces serious

penalties and mandatory sentencing. The evidence was extremely strong, enhanced by court

authorized electronic interceptions of multiple phones. According to the government’s proffer,

Defendant was revealed to be the supplier of drugs, particularly heroin and fentanyl to street level

drug shops. During the arrest phase of the investigation, a search warrant authorized for

Defendant’s residence and his stash house, owned by Defendant resulted in the recovery of a
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firearm and a large amount of heroin/fentanyl and an amount of cocaine base. Also recovered were

tools of the drug trade, scales and cutting agents as well as suspected carfentanyl, a deadly

substance used as a cutting agent resulting in overdoses and deaths throughout the country. An

additional firearm, a stolen .40 caliber handgun was recovered from one of Defendant’s vehicles.

All of the factors previously considered weigh heavily in favor of detention and Defendant failed

to rebut the presumption for detention. In this Court’s experience there is no greater danger to the

community than armed drug traffickers. Baltimore had 348 homicides last year and the

surrounding counties suffered increases in homicides, many of which were drug related. During

this pandemic outbreak, there have been triple and quadruple shootings in Baltimore as well as

individual homicides. The pandemic event has not abated gun crime. Defendant does not challenge

the clear and convincing evidence that he poses a threat to public safety.

       In evaluating the COVID-19 change of circumstances, I incorporate other decisions of this

Court, (United States v. Martin, 2020 WL 127857 (D.Md. March 17, 2020)) and its progeny of

Orders, and most recently United States v. Malik Gibson-Bey, RDB 19-563. I fully adopt the

reasonings and rulings of those Opinions and incorporate them into this Memorandum and Order

as to Derek Crosby.

       In weighing the evidence presented by the government as to the response of CDF to the

COVID-19 outbreak, I find that releasing Defendant to home detention with Pretrial Supervision

by clear and convincing evidence does not ensure the safety of the public. The new circumstances

of COVID -19 are but one factor to consider. I have fully considered the impact of COVID-19. The

risk factors Defendant presents do not outweigh the factors I have previously found requiring his

continued detention. Defendant only alleges he is at a higher risk of infection due to his previous

diagnosis of pneumonia, asthma and a need for an albuterol inhaler.

       As to home detention, I have been advised by Probation and Pretrial Services that

traditional location monitoring is no longer available due to the risks to pretrial services personnel.
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Even if those conditions existed, this Defendant, who was engaged in armed drug trafficking is not

a candidate for home detention.

       Accordingly, the motion (ECF 411) is DENIED. So Ordered this 2nd day of April, 2020.


                                                                /s/______________
                                                    A. David Copperthite
                                                    United States Magistrate Judge
